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May 31, 2022



VIA ECF

Hon. Lorna G. Schofield
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 1000

Re: Tristant v. Blue Bottle Coffee, LLC. (No. 1:22-cv-03184)

Dear Judge Schofield:

        This firm represents Defendant Blue Bottle Coffee, LLC. We write with the consent of
Plaintiff’s counsel to request that the Court set June 13, 2022 as the deadline in which Defendant
Blue Bottle Coffee, LLC may answer, move or otherwise respond to the Complaint. Defendant
Blue Bottle Coffee, LLC makes this request because it needs additional time to investigate
Plaintiff’s claims. This is Defendant’s first request for an extension of the deadline and no other
deadlines will be impacted by this request. We thank the Court for its consideration of this request.

                                              Respectfully submitted,

                                              /s/ Eli Freedberg


                                              Eli Z. Freedberg
